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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

   ______________________________________________
   DEMOCRACY PARTNERS, LLC, et al.,             )
                                                )
      Plaintiffs,                               )
                                                ) Civ. No. 1:17-cv-1047-ESH
              v.                                )
                                                )
   PROJECT VERITAS ACTION FUND, LLC, et al.,    )
                                                )
      Defendants.                               )
   _____________________________________________)


           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES
               IN OPPOSITION OF MOTIONS TO DISMISS BY THE
                       PROJECT VERITAS DEFENDANTS




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                                         I.      Introduction

       Plaintiff Democracy Partners is a group of consultants and vendors to progressive

organizations and Democratic Party committees and campaigns. Plaintiff Strategic Consulting

Group (SCG) is a member of Democracy Partners and provides campaign-related services; and

Plaintiff Robert Creamer is sole owner of SCG. The moving Defendants are Project Veritas,

Project Veritas Action Fund (PVAF), both non-profit organizations, and their head and founder

James O’Keefe. Project Veritas is a right-wing advocacy group notorious for its attempted

“sting” operations in which it gains access to the offices of progressive groups and campaigns

through fraud and, often, criminal conduct; secretly videotapes conversations and interactions

with staff of the organizations; and then selectively edits the videotapes to misrepresent and

distort what was said and to publicly release the edited tapes.

       In this case, a Project Veritas agent or employee, Allison Maass (also a defendant but not

yet served), used a phony name and identity, phony background information and a series of lies

to obtain an internship with Democracy Partners. She used that internship to obtain access to

confidential and sensitive information from Democracy Partners’ clients, to disclose that

information to her principals at Project Veritas and to secretly record conversations with

Creamer and other Democracy Partners members, including confidential client conversations.

Evidently upset with the breach of client confidences, two existing clients cancelled contracts

with SCG and Democracy Partners lost a significant potential client, costing the Plaintiffs more

than $500,000. Plaintiffs assert claims for violations of federal and D.C. wiretap laws, and

common law violations for breach of fiduciary duty, fraudulent misrepresentation, trespass and

civil conspiracy.




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       Defendants’ motion to dismiss these claims is built on assumptions that exist only in a

fantasy world of their own creation. In this fantasy world, Defendants are heroic “undercover

journalists” and Plaintiffs have sued them for defamation. In the real world, O’Keefe and Project

Veritas are fraudsters and criminals, not journalists. And Plaintiffs have sued them for tortious

and criminal conduct, not for defamation, and not for any reporting or publication.

       The practices in which Project Veritas engages are “uncommon and generally considered

unethical” by real journalists. Paul Farhi, What the Latest James O’Keefe video leaves out,

Washington Post (June 28, 2017) https://www.washingtonpost.com/lifestyle/style/what-you-

dont-see-in-okeefe-video-may-be-as-important-as-what-you-do/2017/06/28/dcb67446-5b7c-

11e7-a9f6-7c3296387341_story.html?utm_term=.06eb2a94eeb7. “Their work has been

repeatedly criticized for intentionally deceptive editing… and O’Keefe has a criminal record in

an effort to illegally infiltrate a Democratic Senator’s office.” Id. The chair of the Society of

Professional Journalists’ ethics committee stated that “although mainstream news organizations

sometimes cross ethical boundaries, O’Keefe regularly does so. ‘James O’Keefe is not an ethical

journalist. . . he obviously has an agenda... and has a history of distorting facts or context.” Paul

Farhi, Is it okay for James O’Keefe’s ‘investigative journalism’ to rely on deception?,

Washington Post (Oct. 19, 2016) https://www.washingtonpost.com/lifestyle/style/is-it-okay-for-

james-okeefes-investigative-reporting-to-rely-on-deception/2016/10/19/f32fd46a-962e-11e6-

9b7c-57290af48a49_story.html?utm_term=.454ecc877b5c. “Many O’Keefe operations, … have

fallen flat,” and “O’Keefe’s unseemly tactics have increasingly caused other conservatives,

including Glenn Beck, to distance themselves from him.” Jane Mayer, Sting of Myself, The New

Yorker (May 30, 2016) https://www.newyorker.com/magazine/2016/05/30/james-okeefe-

accidentally-stings-himself.



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       Equally a fantasy is that Plaintiffs have sued for defamation. They have not. The majority

of the damages Plaintiffs seek are not reputational, but lost contracts. Neither set of damages

results from any act of journalistic reporting or publication. The damage resulted directly from

Maass’ actions in breaching client confidentiality through her tortious and criminal conduct. For

those reasons, contrary to Defendants’ assertion, Plaintiffs do not have to plead the elements of

defamation in order to recover on their claims – although they have actually pleaded the requisite

facts to support that cause of action in their Complaint.

       Plaintiffs have pleaded facts sufficient to show that Maass was given access to highly

confidential information and allowed to participate in confidential client meetings, in order to

perform her work for Democracy Partners. These allegations establish the existence of a

fiduciary relationship, which Maass unquestionably breached, as clearly alleged in the

Complaint, by disclosing confidential, proprietary information for her own purposes.

       The Complaint sufficiently alleges the elements of fraudulent misrepresentation, in

particular, that Maass’ fraudulent misrepresentations not only proximately but directly caused the

harm to Plaintiffs for which they seek compensation – the breach of client confidentiality by

Maass’ disclosures, made possible only by her fraud and lies.

       Plaintiffs have also adequately alleged the elements of trespass, since any consent to

Maass’ entry into Democracy Partners’ premises was rendered null and void by her fraud. Even

if Plaintiffs can recover only nominal damages for this particular count, there is no basis for

dismissing it.

       The Complaint sufficiently alleges that the secret recordings violated the federal and D.C.

wiretapping laws because the recordings were made for the purposes of committing tortious acts

– thus vitiating application of the “one-party consent” rule. These tortious acts are laws of



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general applicability and Defendants have shown no basis for creating any special exception for

their conduct based on the First Amendment.

       The Complaint sufficiently alleges civil conspiracy as to all Defendants, in that they

combined and conspired, and are therefore liable for, the underlying torts directly committed by

Defendant Maass.

       Finally, Defendants’ motion to dismiss under the D.C. Anti-SLAPP law must be

dismissed, as that law, which the D.C. Circuit found to be a procedural rule in conflict with the

Federal Rules of Civil Procedure, cannot be applied in a case brought in federal court.

       For the reasons provided below, Defendants’ motions to dismiss should be denied in toto

and this case should proceed to discovery.

                                II.     Allegations of the Complaint

       Defendant Project Veritas Action Fund (“PVAF”) is an arm of Defendant Project Veritas,

a right-wing, non-profit corporation infamous for targeting and surreptitiously infiltrating

progressive organizations and Democratic Party campaigns and committees. (Compl. ¶ 12.) Led

by Defendant James O’Keefe, the organizations’ modus operandi includes planting its

employees in the offices of these progressive and political organizations and campaigns through

fraudulent misrepresentation, then to secretly videotape confidential conversations and

interactions, then to selectively edit the recordings to distort and misrepresent the statements

made, and then to release those selectively edited clips to the public. (Compl. ¶¶ 12, 13.)

       In 2009, Project Veritas released a series of undercover videos about a community

organizing group known as ACORN. (Compl. ¶ 14.) As reported by The New Yorker, the

“videos had an immediate effect, but raised serious questions about [O’Keefe’s] methods and

ethics – questions that have trailed him ever since.” (Compl. ¶ 14.) In the resulting ACORN case,



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after losing on summary judgment on a wiretap claim, O’Keefe and his accomplice settled the

matter for $100,000. (Compl. ¶ 15.) In 2010, O’Keefe and three accomplices were criminally

charged for a scheme in which they disguised themselves as telephone repairmen to gain access

to the offices of a Democratic U.S. Senator. (Compl. ¶ 16.) O’Keefe plead guilty to a

misdemeanor, and was sentenced to probation and community service and ordered to pay a fine.

(Id.) Similarly, Allison Maass, who is also a Defendant in this case, gained access to the 2016

campaign offices of Hillary Clinton, Russ Feingold, and Bernie Sanders, on false pretenses and

posing as a campaign volunteer. (Compl. ¶ 17.)

       Defendants perpetrated a similar scheme in this case when they planted their agent

Defendant Allison Maass in the offices of Plaintiff Democracy Partners. (Compl. ¶¶ 24-26; 63.)

Democracy Partners is a progressive organization, headquartered in the District of Columbia,

with member companies and individuals across several states. (Compl. ¶ 2.) One such member is

Plaintiff Robert Creamer, the sole owner of Plaintiff Strategic Consulting Group (“SCG”).

(Compl. ¶¶ 1, 19.) In June 2016, Defendant Daniel Sandini, also an agent of Project Veritas,

introduced himself to Creamer under the false name “Charles Roth” in an effort to initiate a

relationship with Democracy Partners. (Compl. ¶¶ 8, 22-26.) Shortly thereafter, Sandini told

Creamer that he had a niece, “Angela Brandt,” that was looking to engage in political work for

progressive causes. (Id.) “Angela Brandt” was actually Defendant Maass. (Compl. ¶¶ 17, 24, 27.)

       Maass used this false identity, which included a fake social security number, educational

background, and fabricated resume, to gain Plaintiff’s trust. (Compl. ¶¶ 27, 41, 43.) First,

Creamer connected Maass to a volunteer opportunity with a progressive organization in

Cleveland, Ohio during the 2016 Republican National Convention. (Compl. ¶ 25.) Then, Sandini

again contacted Creamer on behalf of his “niece” in search of additional professional experience.



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(Compl. ¶ 26.) Maass misrepresented her intentions in seeking, and eventually gaining, an

internship with Democracy Partners. (Compl. ¶¶ 27, 41, 43.) Maass claimed an interest in

political experience, and deliberately and continuously lied to Plaintiffs about her true identity

and background as a PV employee. (Id.) Had Creamer or Democracy Partners known Maass’

true background, she would have never been hired following her interview. (Compl. ¶¶ 28, 42,

44.)

       After fraudulently obtaining her internship, Maass was given an electronic pass card that

allowed her unobstructed access to Democracy Partners’ secured file cabinets and computers.

(Compl. ¶ 31.) Democracy Partners’ offices are not open to the public and maintain 24-hour

security. (Compl. ¶¶ 21, 34.) The only three methods of gaining entry require Democracy

Partners’ permission. (Id.) Maass was also allocated a company computer that required a unique

username and password to unlock and access the company’s password-protected wireless

network. (Compl. ¶ 31.)

       On her very first day of work, Maass had a conversation with Creamer during which he

explicitly told her that any and all information she learned during the course of her internship

was confidential and proprietary information not to be shared with anyone absent specific

instructions. (Compl. ¶¶ 32, 39). Unbeknownst to Creamer or anyone else at Democracy

Partners, Maass surreptitiously recorded audio and video of her conversations with Plaintiffs and

Democracy Partners’ members and clients during in-person and conference call meetings.

(Compl. at ¶¶ 30, 33, 49.) Because Maass’ internship included extensive participation in client

meetings, conference calls, sensitive email chains, and – importantly – the coordination of

campaign “bracketing” events, she had access to, and recorded, an immense amount of




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Democracy Partners’ confidential and proprietary business information. (Compl. at ¶¶ 36-39,

48.)

       Throughout the course of her internship, Maass shared her recordings and other

documents and emails containing confidential information with Defendants. (Compl. ¶¶ 35, 40.)

Despite Creamer’s clear instructions to Maass on her first day, all the recordings and documents

were disclosed without authorization from Plaintiffs or Plaintiffs’ clients. (Compl. ¶¶ 33, 49, 60-

62.)

       On October 17, 2016, PVAF released the first video containing footage from Maass

recordings on YouTube – just three weeks before the 2016 presidential election when voters are

most tuned into politics (Compl. ¶ 53.) The video was heavily edited from its original form and

contained extensive commentary by O’Keefe that drew false conclusions, including a charge that

Plaintiffs were involved in a conspiracy to incite violence at rallies for then-candidate Donald

Trump. (Id.) Through October 26, 2016 – only a week before the presidential election –

Defendants released three similar additional videos containing substantially edited footage

secretly recorded during Maass’ internship. (Compl. ¶¶ 55-57.) These videos contained an array

of incendiary accusations implicating Plaintiffs in unlawful campaign coordination with the

Clinton Campaign, in addition to schemes involving voter fraud, mass non-citizen voting, and

the unlawful acceptance of foreign campaign contributions. (Id.) At the time the Complaint in

this case was filed, these four YouTube videos had been viewed more than thirteen million times

(13, 261,872) and garnered tens of thousands of public comments (67,785). (Compl. ¶ 58.)

       As a direct result of Maass’ fraud and disclosure to Defendants of Democracy Partners’

confidential information, a major labor organization cancelled its $36,000-per-year contract with

Democracy Partners and a nonprofit organization terminated its $11,000-per-month contract with



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SCG. (Compl. ¶¶ 64-65.) Democracy Partners also lost a prospective client organization whose

contract would have paid a minimum of $30,000. (Compl. ¶ 66.) But for these disclosures,

Democracy Partners would not have lost at least $534,000 in revenue for actual services and

would not have suffered injuries and lost future contracts valued at least at $500,000 –

representing at least $1,034,000 in total harm. (Compl. ¶¶ 67-68.)

       In light of the allegations summarized above, Plaintiffs have brought a lawsuit for

statutory and common law violations. Count One states a claim for breach of fiduciary duty

against Maass for her surreptitious recording and subsequent disclosure of Democracy Partners’

confidential information (Compl. ¶¶ 69-77.) Count Two states a claim under Title III of the

Omnibus Crime Control and Safe Streets Act of 1968, codified at 18 U.S.C. § 2511 et seq.,

against all Defendants, for intentionally intercepting, intentionally using, and intentionally

disclosing, the contents of surreptitious recordings of oral communications. (Compl. ¶¶ 78-85.)

Count Three states an analogous wiretap claim under D.C. law against all defendants, pursuant to

D.C. Code § 23-541 et seq. (Compl. ¶¶ 86-93.) Count Four states a claim for trespass against

Maass for her nonconsensual intrusion upon the offices of Democracy Partners. (Compl. ¶¶ 94-

101.) Count Five states a claim for fraudulent misrepresentation against all Defendants for their

use of false representations to induce the trust of Plaintiffs. (Compl. ¶¶ 102-12.) Finally, Count

Six states a claim of civil conspiracy against all Defendants for their collusion in seeking to

commit the statutory and common law violations alleged. (Compl. ¶¶ 113-16.)

       Presently before the court is Defendants’ motion to dismiss all the aforementioned claims

pursuant to Fed. R. Civ. P. 12(b)(6). Defendants have also brought a second motion to dismiss

pursuant to D.C. Code § 16-5502 (the “Anti-SLAPP Act”).




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                                            III.    Argument

    A. Standard of Review

        A motion to dismiss under Fed. R. Civ. P. 12(b)(6) “should only be granted if Plaintiff

can prove no set of facts in support of his claim which would entitle him to relief.” Browning v.

Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). In reviewing a motion to dismiss, the Court must

“accept the plaintiff’s factual allegations as true and construe the complaint liberally, granting

plaintiff the benefit of all inferences that can be derived from the facts alleged.” Id. (internal

citation and quotation omitted). The question at the motion to dismiss stage is “whether or not

the complaint contains ‘sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.’” Zimmerman v. Al Jazeera America, Civ. No.16-cv-0013 (KBJ), 2017 WL

1207416, at *8 (D.D.C. March 31, 2017) (quoting Harris v. D.C. Water & Sewer Auth., 791 F.3d

65, 68 (D.C. Cir. 2015) (internal citation omitted).

    B. Plaintiffs Have Pleaded Cognizable Claims For Damages

        1. Plaintiffs’ Claims For Reputational Damages Are Not Barred By The First
           Amendment

        Defendants contend that in five of the six counts in the Complaint, Plaintiffs are seeking

compensation for “damage to reputation” which they cannot recover because they have not

pleaded the necessary elements of defamation of a public figure. (Memorandum of Points and

Authorities in Support of Motions to Dismiss by the Project Veritas Defendants, Doc. No. 16

(“Def. Mem”) at 10-14.) This contention ignores the allegations of the Complaint and the

applicable law. It is meritless.

        The legal rule invoked by Defendants is that “public figures and public officials may not

recover for the tort of intentional infliction of emotional distress by reason of publication . . .

without showing in addition that the publication contains a false statement of fact which was

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made with ‘actual malice’…” Hustler Magazine v. Falwell, 485 U.S. 46, 56 (1988). As a more

general rule, when a plaintiff is seeking “publication damages…for items relating to its

reputation…” that plaintiff may not “avoid the First Amendment limitations on defamation

claims by seeking publication damages under non-reputational tort claims, while holding to the

normal state law proof standards for these torts.” Food Lion v. Capital Cities, 194 F.3d 505, 522

(4th Cir. 1999). In this case, Plaintiffs are not attempting to do anything remotely resembling

what that rule implicates.

                   a. Plaintiffs Are Not Seeking Reputation Damages Resulting From Any
                      Publication

       Plaintiffs are not seeking reputational or any other damages for any act of expression or

publication. Paragraph 68 of the Complaint alleges that the “disclosures and actions of Maass

described in paragraphs 27-44 above have severely injured the reputations of [Plaintiffs] . . . .”

(Compl. ¶ 68.) Thus, the conduct of Maass on which each claim for damages is based, is set forth

solely in paragraphs 27 through 44 of the Complaint. Those paragraphs which make no reference

whatsoever to the creation or posting of the Project Veritas videos or any other publication.

       Rather, the conduct on which Plaintiffs’ claims for damages are based consists of Maass’

gaining access to Plaintiffs’ private offices through fraud, deception and lies, in breach of

fiduciary duties, and unlawful recording in furtherance of those other torts. (Compl. ¶¶ 27-44.)

The Complaint alleges that those specific “disclosure and actions” — the ones set out in

paragraphs 27 through 44 — “have severely injured the reputations of Creamer, SCG and

Democracy Partners . . . .” (Compl. ¶ 68.) The clear implication of these allegations is that

damage to Plaintiffs’ reputation resulted from their clients’ displeasure with the breach of client

confidentiality—the fact that highly sensitive client confidential information was disclosed to

outsiders without the client’s authorization.

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       As the Complaint alleges, Maass had access to and disclosed (1) proprietary materials,

(2) confidential materials, and (3) other internal or otherwise non-public information reflecting

internal, non-public Democracy Partners affairs. (Comp. ¶ 39.) The Complaint further alleges

that Defendants disclosed these materials to others. Such disclosures destroyed the

confidentiality of those materials and information, thereby substantially diminishing the value to

Democracy Partners and its clients. In the highly contentious arena of electoral politics,

especially in the small handful of weeks before a major presidential election, maintaining the

confidentiality of proprietary information is of significant importance to the clients of a political

consulting and services firm such as Democracy Partners.

       Democracy Partners took particular care to limit access to the information and materials

within its office. The office maintains 24-hour security and is not open to the public. (Compl. ¶¶

21, 34.) Democracy Partners members and staff are required to use an electronic pass provided

by the organization to gain entry, and access to the organization’s computers, internet, and

telephone conferences all require a passcode. (Compl. ¶¶ 31-34.) Such measures are taken in part

because many of Democracy Partners’ initiatives derive their value from their proprietary and

confidential nature. For example, the “bracketing” program – which was Maass’ primary

assignment for the duration of her internship – involved coordinating press events in areas being

visited by then Republican candidates Donald Trump and Mike Pence. (Compl. ¶ 37.) The

success of these events depended heavily on limiting the number of parties with knowledge of

the timing, location, and nature of the events that were to take place. (Id.)

       Thus, the harm flowing from Maass’ actions in disclosing such information just weeks

before the presidential election would have injured Democracy Partners – even if the YouTube

videos had never been published. The essential nature of the injury lies in Maass’ initial



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disclosure. In other words, the injury occurred the moment Maass leaked Democracy Partners’

confidential information to James O’Keefe and other parties affiliated with PV and PVAF.

        Indeed, there are no facts alleged in the Complaint implying that any of Plaintiffs’ clients

actually watched the videos or believed that Plaintiffs had done anything wrong as a result of

watching the videos. The bottom line is that Plaintiffs are not seeking damages for injury to

reputation stemming from any publication.

       In Planned Parenthood Federation of America v Center for Medical Progress, 214

F.Supp.3d 808 (N.D. Cal. 2016), appeal pending, No. 16-16997 (9th Cir. filed Oct. 31, 2016),

Planned Parenthood sued the group that made secret recordings of conversations about Planned

Parenthood officials discussing fetal tissue procurement issues. Planned Parenthood alleged that

defendants created fake companies, fake identifications and engaged in illegal taping, and

asserted claims under civil RICO, the federal wiretap law (exactly as in this case), for breach of

contract and civil conspiracy and fraudulent misrepresentation and under certain provisions of

California state law. Exactly as the Defendants are doing in this case, defendants, invoking

Hustler and Food Lion, asserted that plaintiffs were seeking publication damages without

meeting the First Amendment defamation standards. The Court disagreed, holding that:

       Whether First Amendment scrutiny applies, … does not turn on the label of the cause of
       action but on whether the “challenged conduct” is to some form of expression and
       relatedly whether the damages sought stemmed from that form of expression. . .. Here the
       First Amendment does not impose heightened standards on plaintiffs’ tort claims as long
       as plaintiffs do not seek reputational damages (lost profit, lost vendors) stemming from
       the publication conduct of defendants.

214 F.Supp.3d at 841 (emphasis added). See also Cohen v. Cowles Media, 501 US. 663, 669

(1991) (plaintiff may seek damages even against a press outlet for violations of laws of general

applicability); Food Lion, 194 F.3d at 521 (issue is whether the challenged conduct is “some

form of expression”).

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       Here, the reasonable inference to be drawn from the allegations of the Complaint is that

the damage to Plaintiffs’ reputation did not stem from any publication or form of expression, but

from other conduct. To the extent that there are other possible inferences, the Complaint must,

of course, be construed giving Plaintiff “the benefit of all inferences that can be derived from the

facts alleged,” Browning, 292 F.3d at 242.

       Defendants’ reliance on Teltschik v. Williams & Jensen, 2012 WL 3960607 (D.D.C. Sept.

10, 2012), aff’d, 748 F.3d 1285 (D.C. Cir. 2014), is misplaced. In Teltschik, the plaintiff initially

brought a defamation case that was dismissed due to judicial proceeding privilege. The Court

then disallowed the plaintiff from recovering reputation damages under his additional negligence

and breach of fiduciary duty claims “because those claims were subsumed by his defamation

claim, which had already been dismissed. Id. at *1. The Court held that “[a] plaintiff should not

be permitted to recover damages for the loss of his reputation in a negligence action, when the

alleged damage to his reputation was caused by a defendant's published communication and that

communication was the basis of a failed defamation claim.” Id. (emphasis added). Here,

Plaintiffs have never asserted a defamation claim, and the alleged damage to Plaintiffs reputation

was not caused by any communication published by the Defendants. Further, Teltschik involved

a decision by the District Court on a motion for summary judgment following extensive

discovery—not a motion to dismiss, as in this case.

                   b. Plaintiffs Have Pleaded the Necessary Elements of Defamation


       Even if Plaintiffs were seeking reputational damages stemming from the publication of

the videos, they have alleged the necessary elements for a defamation claim. To state a claim

for defamation under District of Columbia law, a plaintiff must allege “(1) that he was the

subject of a false and defamatory statement; (2) that the statement was published to a third party;

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(3) that publishing the statement was at least negligent; and (4) that the plaintiff suffered either

actual or legal harm.” Zimmerman, 2017 WL1207416, at * 8 (quoting Farah v. Esquire

Magazine, 736 F.3d 528, 533-34 (D.C. Cir. 2013)).

          The very allegations challenged by Plaintiffs—that the publication severely damaged

Plaintiffs’ reputations—are allegations that the publication was defamatory. As to falsity,

Defendants blithely assert that “Plaintiffs do not challenge the truth of Project Veritas Action’s

broadcast.” (Def. Mem. at 9). Not so. The Complaint alleges that the first video was

          heavily edited and contained commentary by [PV Founder and President, Defendant
          James] O’Keefe that drew false conclusions from the selectively edited videos, to charge
          that Plaintiffs were involved in a conspiracy to incite violence at rallies for then candidate
          Donald Trump and falsely implied that the ongoing work in planning and implementing
          the bracketing events was part of that conspiracy.

(Compl. ¶ 53, emphasis added). The Complaint further alleges that the second video contained

commentary by O’Keefe “that misrepresented what was actually said in the videos, in order to

suggest, falsely, that Plaintiffs Creamer and Democracy Partners were involved in a scheme with

others to enable masses of non-citizens to vote illegally and otherwise to commit voter fraud.”

(Compl. ¶ 55, emphasis added.) And the Complaint alleges that a third video “falsely implied

that… activities carried out [by Plaintiffs] in connection with the bracketing events had been

unlawfully coordinated with the Clinton campaign; and that a group for which [Plaintiff Robert]

Creamer worked had unlawfully accepted a foreign contribution.” (Compl. ¶ 57, emphasis

added.)

          The Complaint clearly alleges that the videos were “published to a third party.” (Compl. ¶

58.) And the Complaint alleges more than negligence: it alleges that O’Keefe and Project Veritas

Action deliberately edited the videos to create the false statements. (Compl. ¶¶ 53-57.)




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       Defendants contend that the Complaint does not allege the element of “actual malice.”

But proof of actual malice would be required only if any of the Plaintiffs are “public officials” or

“public figures.” Hustler, 485 U.S. at 56. Defendants casually assert that, “[t]he Plaintiffs are, at

the very least, limited purpose public figures under D.C. law.” (Def. Mem. at 14). To be a

limited purpose public figure, the plaintiff “must have ‘thrust’ himself to the ‘forefront’ of the

public controversy at issue.” Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 586 (D.C. Cir. 2016)

(Jankovic IV) (quoting Waldbaum v. Fairchild Publ’n, 627 F.2d 1287, 1297 (D.C. Cir. 1980)).

The “public controversy” cited by Defendants is the entire 2016 election, and they claim that that

all three Plaintiffs “thrust themselves” into this “controversy” by dong “extensive work for

various progressive causes;” (Def. Mem. at 15); because Creamer was invited to the White

House (id.); and, based on factual assertions completely outside the Complaint, because Creamer

allegedly published a book on politics nine years before the 2016 election and is a “frequent

writer” for the Huffington Post. (Id. n. 3).

       By Defendants’ reckoning, every single person who worked on the 2016 presidential

election campaign in any capacity – employee, volunteer, consultant, vendor, the company that

provided ice water or copying paper – would be a “limited purpose public figure.” They have

pointed to no facts set forth in the Complaint that would actually make Creamer a “limited

purpose public figure” for purposes of their videos.

       Even if Creamer were such a figure, moreover, that would not automatically make the

two Plaintiff companies, SCG and Democracy Partners, limited purpose public figures. The

private contract work of SCG and Democracy Partners for clients related to the 2016 campaign

was not publicized in any way (prior to the release of the Project Veritas videos) and Defendants

point to no allegations in the Complaint that would show that these two companies “thrust



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[themselves] into the vortex of” the 2016 election Jankovic IV, 822 F.3d at 587 (quoting Gertz v.

Robert Welch, 418 U.S. 323, 351-52 (1974). "[D]efamation is personal . . . [a]llegations

of defamation by an organization and its members are not interchangeable. Statements which

refer to individual members of an organization do not implicate the organization.’” Jankovic v.

Int’l Crisis Grp., 494 F.3d 1080, 1089 (D.C. Cir. 2007) (Jankovic I) (quoting Provisional Gov’t

of New Afrika v. ABC, 609 F. Supp. 104, 108 (D.D.C. 1985)). None of the facts identified by

Defendants would demonstrate that any of the Plaintiffs are limited purpose public figures.

        In any event, the Complaint alleges facts that, if proven, would demonstrate that O’Keefe

deliberately edited the videos to create a false impression and then deliberately made false

statements about what the videos showed. (Compl. ¶¶ 53, 55, 57.) The Complaint alleges that

the modus operandi of PV defendants “is to gain access to the offices of [progressive]

organizations and campaigns through fraudulent misrepresentation; then to secretly videotape

conversations and interactions . . . then to selective edit the videotapes so as to distort and

misrepresent what was said . . . .” (Compl. ¶ 13.) Taken together, and drawing all inferences in

favor of the Plaintiffs, these allegations would suffice to show that the videos were edited and

posted “with knowledge that it was false or with reckless disregard of whether it was false or

not,” i.e., actual malice. Jankovic IV, 822 F.3d at 584 (quoting New York Times Co. v. Sullivan,

376 U.S. 254, 279-80 (1964)). At the pleading stage, even given that the “standard of actual

malice is a daunting one,” id. at 590, “when this Court grants these Plaintiffs ‘the benefit of all

inferences that can be derived from the facts alleged,’ . . . as it must at this stage of the litigation,

it concludes that their complaint survives the preliminary obstacle that a motion to dismiss

constructs, because the complaint’s allegations of fact support the inference that [defendants]

entertained serious doubts as to [the reliability of the statements] and failed to investigate these



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claims adequately which, together, suffice to support a plausible finding of actual malice.’”

Zimmerman, 2017 WL 1207416, at *18 (quoting Sparrow v. United Air Lines, 216 F.3d 1111,

1113 (D.C. Cir. 2000) (internal citations omitted)).

       Thus, even if Plaintiffs were required to plead the elements of defamation in order to

claim reputational damages, they have sufficiently done so.

       2. Plaintiffs’ Claims For Lost Contract Damages Are Not Barred by the First
          Amendment

       Plaintiffs are not, in any of their counts, seeking compensation solely for any damage to

reputation. In addition to statutory and punitive damages sought under the D.C. and federal

wiretapping statutes, 18 U.S.C. §2520(c)(2)(B), -- (b)(2) and D.C. Code §23-554(a)(2)(A)-(B)),

the specific damages cited by Plaintiffs are the loss of revenue that would have been received

under two then-existing contracts and one prospective contract. (Compl. ¶¶ 64-66.) Defendants

again argue that the lost contract damages resulted from “publication of the defendants’

reporting,” and thus that Plaintiffs must plead the relevant elements of defamation. (Def. Mem. at

17).

       In fact, the majority of the damages sought by Plaintiffs—$534,000—are attributed to

loss of these three contracts, not to damage to reputation. (Compl. ¶ 67.) Nowhere in paragraph

67 is there any reference to reputation. Because all of Plaintiffs’ claims include a claim for these

non-reputational damages, and because the non-reputational damages are not alleged to stem

from any publication, there is no basis for dismissing any of these claims.

         In Steele v. Isikoff, 130 F.Supp.2d 23 (D.D.C. 2000), a well-known investigative

reporter revealed the name of his source in a newsmagazine article. The source sued, alleging

that she and the reporter had agreed that the conversations would be off the record. The source

asserted claims for breach of contract, implied covenant of good faith, fraud, and infliction of

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emotional distress. The reporter argued that Hustler barred recovery of damages on any of these

claims, but this Court disagreed, holding that under Hustler and Cohen:

        If a party seeks damages for harm to reputation or state of mind, the suit can only proceed
        if that party meets the constitutional requirements of a defamation claim. If a party seeks
        damages for non-reputational harms, which include lost jobs and diminished employment
        prospects, then the First Amendment does not bar suit as long as the claims are brought
        under generally applicable laws.

        130 F.Supp.2d at 29 (emphasis added).

        In this case, the Complaint alleges loss of contract revenue – that is, non-reputational

damages – due entirely to non-publication conduct. That conducts consisted of Maass’ breach of

client confidentiality through tortious and illegal acts, that is, violation of other legal duties and

laws of general applicability. The Complaint specifically alleges that the contracts were lost as a

result of “disclosures and actions” of Maass described in paragraphs 27 through 44 of the

Complaint, which make no reference whatsoever to the Project Veritas videos or any other

publication. The Complaint makes clear that the loss of the contracts resulted from Mass’ breach

of client confidentiality—i.e., that through her tortious and illegal conduct she caused Project

Veritas to breach its confidentiality obligations to its clients. For example, paragraph 64 alleges

that, “[a]s a direct result of Mass’ disclosures of confidential information that she obtained

through the actions described in paragraph 27-44 above, a major labor organization canceled a

contract with SCG . . . .” (Compl. ¶ 64.) Those breaches of client confidences would have

resulted in cancellation or loss of the contracts regardless of whether the contents materials

improperly stolen were ever publicized. That the clients may have learned about the breach

through publication does not make the publication itself the cause of the lost contracts. It was not

and the Complaint makes that clear.




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       Further, the Court in Steele ruled that the question of whether Plaintiffs can establish that

they suffered non-reputational damages from non-publication conduct is not appropriately

resolved at the motion to dismiss stage:

       Quite possibly, following discovery Defendants could demonstrate that the damages
       Steele seeks are all for harm to her reputation. On a motion to dismiss, however, the
       Court must accept the plaintiff’s version of events. Steele has alleged she has suffered
       reputational and non-reputational harm as a result of Defendants’ conduct. . .. To the
       extent that she seeks damages for non-reputational harm, the claims survive Defendants’
       constitutional challenge.

       130 F.Supp.2d at 29 (emphasis added).

       In addition, Defendants argue that Plaintiffs cannot recover any damages from lost

contracts, under any of their claims, unless they also plead and prove the separate tort of

interference with contractual relations. (Def. Mem. at 16). Defendants cite no authority at all for

this proposition, and there is none.

       For these reasons, Plaintiffs have sufficiently pleaded their claims for damages arising

from loss of the three contracts. Those claims are in no way barred by the First Amendment.

   C. Plaintiffs Have Sufficiently Pleaded Facts That Would Establish Defendants’
      Liability

       1. Plaintiffs Have Adequately Pleaded Their Claim For Breach Of Fiduciary Duty

       To demonstrate a breach of fiduciary duty, a plaintiff must show (1) the existence of a

fiduciary relationship; (2) a breach of the duties that were associated with this fiduciary

relationship; and (3) injuries resulting from the breach. Armenian Genocide Museum & Mem’l,

Inc. v. Cafesjian Family Found., Inc., 607 F. Supp. 2d 185, 190-91 (D.D.C. 2009). Defendants

contend that as an unpaid intern Maass did not owe a fiduciary duty to Democracy Partners,

supporting that contention only with unsubstantiated and conclusory statements that interns

“perform low-level tasks” and “rarely join a particular think tank or office to further that political



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cause.” (Def Mem. at 21.) But the Complaint alleges several facts suggesting a relationship of

heightened trust and confidence between Maass and Democracy Partners, including her access to

confidential and sensitive business information and participation in confidential client meetings.

(Compl. ¶¶ 32-39.) That is enough to establish a fiduciary relationship. E.g., Council on Am.

Islamic Relations Action Network, Inc. v. Gaubatz, 793 F. Supp. 2d 311, 341 (D.D.C. 2011)

(“CAIR II”) (denying an intern’s motion to dismiss an organization’s breach of fiduciary duty

claim “even assuming that no contractual relationship existed” between the two); Food Lion, Inc.

v. Capital Cities/ABC, Inc., 194 F.3d 505, 516 (4th Cir. 1999) (affirming a district court’s ruling

that two undercover reporters owed a fiduciary duty to the organization they infiltrated even

absent an employment contract).

           a. A Fiduciary Relationship Existed Between Maass and Democracy Partners.

       Plaintiff has alleged sufficient facts to establish a fiduciary relationship between Maass

and Democracy Partners. The District of Columbia courts have rejected a stringent interpretation,

“deliberately le[aving] the definition of a ‘fiduciary relationship’ open-ended, allowing the

concept to fit a wide array of factual circumstances.” CAIR II, 793 F. Supp. 2d at 341. In

deciding whether a fiduciary relationship exists, courts conduct “a searching inquiry into the

nature of the relationship, the promises made, the types of services given and the legitimate

expectations of the parties.” Firestone v. Firestone, 76 F. 3d 1205, 1211 (D.C. Cir. 1996). As a

result of this fact-intensive inquiry, this Court has observed that “a claim for breach of fiduciary

duty is generally not amenable to dismissal for failure to state a claim when the claimed ground

for dismissal is absence of a fiduciary relationship.” CAIR II, 793 F. Supp. 2d at 341; see also

Abercrombie v. Andrew College, 438 F. Supp. 2d 243, 247 (S.D.N.Y. 2006) (noting “a claim




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alleging the existence of a fiduciary duty usually is not subject to dismissal under Rule

12(b)(6).”).

       The Complaint alleges that Maass had complete access to Democracy Partners’ secure

non-public building and access to its highly confidential business information, including

confidential documents and emails, the identity of clients and partners, the undisclosed location

and timing of Democratic bracketing events – information maintained in strict confidence, and

information discussed during private in-person client meetings and conference calls, along with

the private access code for these calls. (Compl. ¶¶ 31-32, 37, 39, 40.) Even if one were to accept,

arguendo, Defendants’ contention that Maass did not sign an employment contract or

confidentiality agreement, Creamer explicitly alerted her to the confidential nature of the

information being shared with her. (Complaint ¶ 32, 39.) Moreover, the nature of Maass’

extensive access to confidential, high-stakes information about Democracy Partners’ programs

and strategies in the context of an immensely adversarial political election should have alerted

her to the existence of a fiduciary duty of non-disclosure. See Church of Scientology Int’l v. Eli

Lilly and Co., 848 F. Supp. 1018, 1028 (D.D.C. 1994) (applying District of Columbia law to hold

“the [fiduciary] relationship exists in all cases in which influence has been acquired and

betrayed. The rule embraces both technical fiduciary relations and those informal relations which

exists whenever a man trusts in, and relies upon another . . .”); Restatement (Third) of Agency §

1.03 (“A person manifests assent or intention through written or spoken words or other

conduct.”) (emphasis added).

       In CAIR II, this Court rejected the argument that an intern could never have a fiduciary

relationship with the entity for which it worked. 793 F. Supp. 2d at 341-42. The Court concluded

that an intern’s access to confidential information and deployment of a false background to



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induce trust from an organization “impl[ied] a relationship akin to one between employer and

employee, which under some circumstances may suffice to support a claim for breach of

fiduciary duty under District of Columbia law.” Id. Here Maass, in coordination with the other

Defendants, meticulously crafted a false identity as a student aligned with Democracy Partners’

goals that was interested in gaining relevant work experience. (Compl. ¶¶ 22-27, 43.) In her

efforts to establish a close relationship of trust and confidence with Democracy Partners, Maass

used a fake name, provided false background information - including a false social security

number, submitted a forged resume, and repeatedly lied to Creamer and others at the

organization about her motives in obtaining the internship. (Id., Compl. ¶ 41.) Even if Maass’

status as an intern, alone, were not enough to establish a fiduciary relationship, the additional

facts alleged in the Complaint make clear that Democracy Partners placed trust in and relied

upon her.

            b. Maass Breached Her Fiduciary Duty to Democracy Partners By Disclosing
               Confidential, Proprietary Information For Her Own Interest.

       As a result of the fiduciary relationship between the two, Maass owed Democracy

Partners an “undivided and unselfish loyalty . . . such that there shall be no conflict between duty

and self interest.” Amtrak v. Veolia Transp. Servs., 791 F. Supp. 2d 33, 47 (D.D.C. 2011).

However, as the Complaint alleges, Maass’ loyalties were divided when she provided a number

of confidential emails to Defendants despite clear instructions by Creamer that information

shared with her was to remain confidential, and despite the obvious fact that these materials were

to be held in confidence. (Compl. ¶¶ 32, 39, 40.) Indeed, the value of the information, and the

reason that Maass disseminated it, was precisely a result of its confidential nature and the value

of that information in the few weeks leading up to the presidential election. Such divided

loyalties amounted to a breach of the fiduciary duty Maass owed Democracy Partners.

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       In Food Lion, the Fourth Circuit Court of Appeals considered a breach of fiduciary duty

claim where two ABC employees assumed false identities to gain employment at a grocery store

and secure footage of improper food handling practices, which ABC subsequently broadcasted.

194 F.3d at 505. The federal appeals court concluded that the reporters’ conduct amounted to a

breach of their fiduciary duty to the plaintiff-supermarket:

               What [defendants] did verges on the kind of employee activity that
               has already been determined to be tortious. The interest of the
               employer (ABC) to whom [defendants] gave complete loyalty
               were adverse to the interests of Food Lion, the employer to whom
               they were unfaithful. ABC and Food Lion were not business
               competitors but they were adverse in a fundamental way. ABC’s
               interest was to expose Food Lion to the public as a food chain that
               engaged in unsanitary and deceptive practices . . . [Defendants] –
               in promoting the interest of one master, ABC, to the detriment of a
               second, Food Lion – committed the tort of disloyalty against Food
               Lion.

               Food Lion, 194 F.3d at 516.

       Maass and the other Defendants knew that she was acting against Democracy Partners’

interest by secretly recording inside the organization’s non-public, highly-secured office. Indeed,

Defendants’ own brief acknowledges that Maass sought to “expose” the internal practices of

Democracy Partners. (Def. Mem. at 25.) Moreover, Maass did not tell anyone at Democracy

Partners that she was using a hidden camera or that she was recording her internship. (Compl. ¶

33, 49, 62.) It is clear that knowing Democracy Partners would not allow her to record these

conversations or share confidential documents, Maass violated her fiduciary duty to Democracy

Partners by acting under the instruction of Defendants – entities and agents known to be

antagonistic toward progressive organizations like that of Plaintiff.

       2. Plaintiffs’ Fraudulent Misrepresentation Claim Adequately Alleges Proximate
          Cause




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        In order to establish a claim for fraudulent misrepresentation under District of Columbia

law, a plaintiff must prove: “(1) the defendant made a false representation; (2) in reference to a

material fact; (3) with knowledge of its falsity; (4) with the intent to deceive the plaintiff; (5) the

plaintiff acted in reasonable reliance on that representation; (6) which consequently resulted in

provable damages.” C & E Servs. v. Ashland, 498 F. Supp. 2d 242, 255 (D.D.C. 2007) (citing

Atraqchi v. GUMC Unified Billing Servs., 788 A.2d 559, 563 (D.C. 2002)).

        Defendants do not deny that they knowingly made fraudulent representations with the

intention of deceiving Plaintiffs. Instead, Defendants only take issue with Plaintiffs’ ability to

establish the sixth element—proximate cause. (Def. Mem. at 34.) In the District of Columbia, a

“defendant's challenged conduct is the proximate cause of a plaintiff's injury only if the injury is

the natural and probable consequence of the negligence or wrongful act and ought to [have been]

foreseen in light of the circumstances.” C & E Servs., 498 F. Supp. 2d at 256 (internal citation

and quotation omitted). Moreover, “[p]roximate cause is generally a factual issue to be resolved

by the jury . . . .” Majeska v. District of Columbia, 812 A.2d 948, 950 (D.C. 2002) (quoting

Washington Metro. Area Transit Auth. v. Davis, 606 A.2d 165, 170 (D. C. 1992)). “District of

Columbia law is clear that only in exceptional cases will questions of . . . proximate cause pass

from the realm of fact to the one of law.” C & E Servs., 498 F. Supp. 2d at 256 (internal citation

and quotation omitted).

        Plaintiffs have adequately alleged facts establishing that Defendants’ fraudulent

misrepresentations proximately caused damages. Specifically, the Complaint alleges that

Plaintiffs suffered, and continue to suffer, injuries including lost contracts, diminishment of the

economic value of confidential and proprietary information, and loss of future contracts. (See

Complaint ¶¶ 111-112.) Defendants’ disagreement as to the underlying factual causation of



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Plaintiffs’ damages is not a matter that can be properly resolved on a motion to dismiss. See

Majeska, 812 A.2d at 950.

       Defendants rely on two cases to support the dismissal of the fraudulent misrepresentation

claim. (Def. Mem. at 35, 36) (relying on Food Lion v. Capital Cities, 964 F. Supp. 956

(M.D.N.C. 1997), aff'd on other grounds, 194 F.3d 505 (4th Cir. 1999) and Frome v. Renner,

No. 97 CIV 5641, 1997 WL 33308718, at *2 (C.D. Cal. Oct. 1, 1997). Neither case supports

their contentions.

       In Food Lion, employees of ABC went undercover to secure footage of improper food

handling at the plaintiff-supermarket. 964 Scup. at 956. ABC broadcasted the footage on Prime

Time Live. Notably, the case was resolved by the Fourth Circuit Court of Appeals after

completion of a jury trial. In review of the jury’s verdict post-trial, the United District Court for

Middle District of North Carolina recognized that the doctrine of “independent cause” applied

under South Carolina law and “provides that an event occurring after the tortious conduct of the

plaintiff may intervene to break the causal chain and cut off plaintiff’s liability for the ultimate

harm.” Id. at 961. Defendants’ reliance on Food Lion is not applicable here because questions of

fact have yet to be resolved, and because Food Lion was governed by a stricter South Carolina

standard. District of Columbia law provides that “[a]lthough [an] intervening act of another

makes the causal connection between the defendant's [conduct] and the plaintiff's injury more

attenuated, such an act does not by itself make the injury unforeseeable.” District of Columbia v.

Carlson, 793 A.2d 1285, 1290 (D.C. 2002) (emphasis added). Moreover, a defendant is still

responsible for damages if the danger “should have been reasonably anticipated.” Lacy v.

District of Columbia, 424 A.2d 317, 323 (D.C.1980) (internal citation and quotation omitted).




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       Other Courts have also distinguished between, or declined to follow, Food Lion’s

proximate cause analysis. In Veilleux v. Nat'l Broad. Co., the First Circuit Court of Appeals

rejected NBC’s reliance on Food Lion, and declined to follow it. 206 F.3d 92, 125 (1st Cir. 2000)

(“[Plaintiff] has adduced sufficient evidence of his reliance on defendants' representations as to []

permit a reasonable finding that the representations were a substantial factor in bringing about

his harm.”). Recently, Planned Parenthood Federation of America held that the plaintiff-

organization properly alleged damages which resulted from fraud and deceit in an attempt to

videotape and broadcast non-public conversations. 214 F. Supp. 3d at 839. Although the claim of

the plaintiff organizations for damages did not clearly differentiate between non-publication and

publication damages, the district court concluded upon consideration of the motion to dismiss,

that “for purposes of pleading . . . plaintiffs have adequately alleged proximately-caused

damages.” Id.

       In Food Lion and Frome, the undercover journalists worked for major accredited news

agencies, ABC and CBS, respectively. The focus of their investigations was examining issues of

public welfare; the ABC piece focused on food handling, and the CBS commentary covered

health care fraud. Unlike reporting by a traditional journalist investigating public-interest stories,

Project Veritas’s surreptitious actions are blatantly politically and ideologically motivated.

(Compl. ¶¶ 13, 53-57.) Unlike Project Veritas, accredited news networks demand journalistic

integrity and do not edit footage to further a political narrative. See, e.g., PPFA, 214 F. Supp. 3d

at 849 (questioning the defense’s claim to be an undercover anti-abortion journalist by noting

that defendant “does not provide any explanation of her educational background, credentials,

work experience, or names of outlets that have published any of her work.” )




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        In sum, Plaintiffs have adequately alleged sufficient facts to establish that Defendants

knowingly made false statements in reference to material facts with the intention of deceiving

Plaintiffs, and that Plaintiffs reasonably relied upon on those representations and suffered

resulting damages. Defendants’ contention that Plaintiff cannot prove damages proximately

caused by their fraudulent misrepresentations is premature because discovery has yet to reveal

the full extent of the fraud.

        3. Plaintiffs Have Sufficiently Pleaded Their Claim for Trespass

        A claim for trespass requires “(i) an unauthorized entry (ii) onto the plaintiff's property

(iii) that interferes with the plaintiff's possessory interest.” CAIR II, 793 F. Supp. 2d at 344.

Defendants do not dispute that the Democracy Partners office is Plaintiff’s property and was

private and not open to the public. (Compl. ¶¶ 21, 34.)

        Rather, Defendants contend that Maass’ entry was authorized because Plaintiffs

consented to her physical presence in the Democracy Partners office and that Plaintiff’s consent

was not vitiated by Maass’ fraud and misrepresentation. (Def. Mem. at 28-30). That is not the

law. “Consent ‘given upon fraudulent misrepresentations’ will not always defeat a claim for

trespass.” CAIR II, 793 F. Supp. 2d at 345 (citing Dine v. Western Exterminating Co., 1988 WL

25511, at *9 (D.D.C. Mar. 9, 1988)). When a party gains access to private space by virtue of

misrepresentation, that party is liable for trespass. “Consent may be ineffective if induced…by a

substantial mistake concerning the nature of the invasion of [the owner’s] interest or the extent of

the harm to be expected from it and the mistake is known to the other or induced by the other’s

misrepresentation.” Id. (internal quotations omitted) (citing Restatement (Second) of Torts §§

173, 892B (2) (1965).




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       In CAIR II, Plaintiffs alleged that one of the defendants trespassed by entering Plaintiffs

offices because he obtained consent through fraud and subterfuge. Defendants argued the

trespass claim should be dismissed because the alleged trespasser was authorized to enter

plaintiff’s offices. Id. at 345. The Court denied Defendants’ motion to dismiss the trespass claim

because such consent can be ineffective if induced by the trespasser’s misrepresentation, which

was “precisely what Plaintiffs have alleged.” Id.

       Here, as in CAIR II, Plaintiff Democracy Partners’ consent was ineffective because it was

induced by Maass’ fraud and misrepresentations. Plaintiffs were induced to believe that Maass,

under the name “Angela Brandt” wanted to obtain an internship in the Democracy Partners office

to gain work experience in political and advocacy work, when, in fact, her actual interest and

intent was to gain the trust and confidence of Plaintiffs, access the office, and access documents,

and record undercover videos of Creamer and Democracy Partners for her employers, PVAF and

PV. (Compl. ¶¶ 26-27.) She deliberately and repeatedly lied to Creamer about her identity and

background, all of which induced Plaintiffs to hire Maass as an intern, giving her access to the

Democracy Partners private office, file cabinets and computers. (Compl. ¶31.)

       Defendants cite cases from other jurisdictions that have concluded “consent to enter land,

even if procured through misrepresentation, bars a later trespass claim.” (Def. Mem. at 29.)

These cases are clearly distinguishable. In Desnick v. ABC, 44 F.3d 1345 (7th Cir. 1995), the

trespass claim was rejected because the alleged trespass occurred in an area that is “open to

anyone expressing a desire for ophthalmic services.” Id. at 1352. Similarly, in Am. Transmission,

Inc. v. Channel 7 of Detroit, Inc., 609 N.W.2d 607 (Mich. Ct. App. 2000), the court upheld the

dismissal of the trespass claim where the defendant entered the auto repair shop that was open to

anyone seeking transmission repair services. Id. at 614.



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       Here, the trespass did not occur in a public space. The Democracy Partners office is

private and not accessible to the general public. (Compl. ¶ 21.) It has 24-hour security and is only

accessible if one signs into the building at the lobby security desk, provided entrance by

Plaintiff’s receptionist, and/or if one has an electronic pass card. (Compl.¶¶ 21, 34, 95.) Unlike

ophthalmologist offices or auto-repair shops, the Democracy Partners office is not accessible to

walk-ins from the public or from those seeking Democracy Partners’ services. (Compl ¶ 34.)

       By contrast, other courts have held as the CAIR II case did; that, when a party gains

access to a private space by virtue of misrepresentation, the person is liable for trespass. Planned

Parenthood Fed'n of Am., Inc. v. Ctr. for Med. Progress, 214 F. Supp. 3d at 834 (plaintiff could

prove trespass where defendants obtained access to meetings by misrepresentation or exceeded

the scope of consent when they secretly filmed the proceedings); Pitts Sales, Inc. v. King World

Prods., Inc,. 383 F. Supp. 2d 1354, 1367 (S.D. Fla 2005) (trespass claim where defendant’s fraud

gave him access areas of plaintiff’s business not open to the public).

       Even if the misrepresentation did not vitiate Plaintiffs’ consent, Maass exceeded that

consent by recording conversations in the private office for her second employer. Defendants

rely on Baugh v. CBS, Inc., 828 F. Supp 745, 757 (N.D. Cal. 1993). In that case, the Court

dismissed a trespass claim because the plaintiff had allowed a film crew on her property. Here,

Plaintiffs never consented to Defendants’ surreptitious videotaping. Plaintiffs consented to

Maass’ presence in the office for the sole purpose of performing her internship. She clearly

exceeded the consent by recording Plaintiffs’ conversations at their private office and providing

these recordings to her employer, Project Veritas. See Food Lion, Inc..194 F.3d at 519 (finding

trespass where reporters went into areas of the store that were not open to the public and secretly

videotaped an act that was directly averse to the interest of their second employer, Food Lion.).



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       Defendants appear to argue that the third element of trespass, interference with the

plaintiff’s possessory interest, is only met if the “peaceful, physical possession” is disrupted by

the alleged trespasser. (Def. Mem. at 30.) There is no such requirement, nor is there any

requirement that the degree of the alleged intrusion into Plaintiff’s possessory interest have any

bearing on the validity of a trespass claim. See e.g., Robinson v. Farley, No. 15-CV-0803 (KBJ),

2017 WL 3841830, at *8 (D.D.C. Sept. 1, 2017) (holding plaintiff could prove trespass based on

allegations that officers “intentionally entered the Robinsons’ residence and thereby interfered

with the Robinson’s possessory interest”). By entering the Plaintiffs’ office without consent,

Maass interfered with Plaintiffs’ possessory interest in their office.

       Finally, Plaintiffs are not required to plead their damages for trespass with particularity

and District of Columbia law allows Plaintiffs to recover nominal damages for trespass. CAIR II,

793 F. Supp. 2d. at 344-345 (citing Decker v. Dreisen-Freedman, Inc. 144 A.2d 108, 110

(D.C.1958)). Therefore, even if Plaintiffs cannot recover actual damages, there is no basis for

dismissing the trespass claim.

       4. The Complaint Alleges Sufficient Facts To Demonstrate That The Recordings
          Were Made for Tortious and Criminal Purposes, in violation of Federal and
          D.C. Wiretap Laws

       Defendants’ motion to dismiss Counts Two and Three of the Complaint—for violation of

the federal and D.C. wiretapping laws – essentially rests on a misstatement of the law. Simply

put, the First Amendment cannot be used as a shield to justify law-breaking.

       Count Two of Plaintiffs’ Complaint alleges that Defendants are liable under Title III of

the Omnibus Crime Control and Safe Streets Act of 1968 (“Federal Wiretap Act”), codified at 18

U.S.C. §§ 2511 et seq., for intentionally intercepting, intentionally using, and intentionally

disclosing, the contents of surreptitious recordings of oral communications. In Count Three of

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the Complaint, Plaintiffs’ allege that Defendants’ actions also violated D.C. CODE § 23-541 et

seq. (“D.C. Wiretap Act”). (Compl. at ¶ 87.) Both statutes proscribe the intentional interception,

use, and disclosure of oral communications. See 18 U.S.C. §§ 2511(1)(a), -(1)(b), -(1)(c), -

(1)(d); D.C. CODE §§ 23-542(a)(1), -(a)(2), -(a)(3).

       Defendants do not contest that Maass willfully intercepted oral communications by using

electronic devices hidden on her person to secretly record private meetings and conversations.

Instead, Defendants rely on the exception, colloquially referred to as the “one-party consent”

rule, found in §2511(2)(d) of the Federal Wiretap Act and §23-542(b)(3) of the D.C. Wiretap

Act. The one-party consent rule creates an exception to liability for a private party “where such

person is a party to the communication or where one of the parties to the communication has

given prior consent to such interception . . . .” 18 U.S.C. § 2511(2)(d); see also, D.C. CODE §23-

542(b)(3).

       The sufficiency of one-party consent, however, does not apply if the “communication is

intercepted for the purpose of committing any criminal or tortious act in violation of the

Constitution or laws of the United States or of any state.” 18 U.S.C. § 2511(2)(d). Similarly, the

D.C. Wiretap Act provides that the one-party consent rule does not apply if the “communication

is intercepted for the purpose of committing any criminal or tortious act . . . or for the purpose of

committing any other injurious act.” D.C. CODE § 23-542(b)(3). Consequently, the Federal

Wiretap Act and D.C. Wiretap Act both prohibit the use of the one-party consent rule if a

defendant’s “primary motivation” or a “determinative factor in the actor’s motivation in

intercepting the conversation was to commit a criminal or tortious act.” Council on Am. Islamic

Relations Action Network v. Gaubatz , 31 F. Supp. 3d 237, 256-57 (D.D.C. 2014) (“CAIR IV”),




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(relying on United States v. Dale, 991 F.2d 819, 841 (D.C.Cir.1993) (internal quotations

omitted)).

        Plaintiffs allege that Defendants intercepted, used, and disclosed oral communications

for the primary purpose of committing the torts of breach of fiduciary duty, fraudulent

misrepresentation, trespass and other criminal or tortious acts. (Because the federal and D.C.

Wiretap Acts are substantively the same, the analysis below will not distinguish between them).

             a. Defendants’ Speech Is Not Protected By The First Amendment Because The
                Information Sought To Be Published Was Not Lawfully Acquired.

       As a preliminary matter, Defendants attempt to qualify the purpose of the recordings as

being for use in constitutionally protected free speech. (Def. Mem. at 25.) However, it is well

established that the First Amendment does not justify breaking the law.

       In Cohen, the Supreme Court addressed the scope of constitutional protection for news

gatherers when a source sued a newspaper after the newspaper’s breach of its express promise to

keep his identity confidential resulted in him being fired from his job. 501 U.S. 663 (1991). The

Supreme Court refused to apply heightened scrutiny, concluding that “generally applicable laws

do not offend the First Amendment simply because their enforcement against the press has

incidental effects on its ability to gather and report the news.” Cohen, 501 U.S. at 669. The

Court found it to be “beyond dispute” that a newspaper publisher “has no special immunity from

the application of general laws. He has no special privilege to invade the rights and liberties of

others.’” Id. at 670 (quoting Associated Press v. NLRB, 301 U.S. 103, 132-33 (1937)). Indeed,

the Court reiterated that “truthful information sought to be published must have been lawfully

acquired” and emphasized that “[t]he press may not with impunity break and enter an office or

dwelling to gather news.” Id. at 669.




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       Because breach of fiduciary duty, fraudulent misrepresentation, and trespass are laws

generally applicable to all citizens and do not target or single out the press, the First Amendment

does not grant the press special immunity as to their application. See, e..g., id.; Food Lion, 194

F.3d at 522 (rejecting the application of heightened First Amendment scrutiny to the breach of

duty of loyalty and trespass claims because “the tort laws [ ] do not single out the press or have

an incidental effect upon its work.”); Veilleux v. Nat'l Broad. Co., 206 F.3d 92, 128 (1st Cir.

2000) (holding that, under free speech principles, plaintiff-employer could recover damages for

common law misrepresentation from NBC after NBC broadcasted a report about the perils

caused by tired long-distant truck drivers which portrayed the plaintiff and his employees in

distorted and negative light); Dietemann v. Time, 449 F.2d 245, 249 (9th Cir. 1971) (“The First

Amendment is not a license to trespass, to steal, or to intrude by electronic means into the

precincts of another's home or office.”); Planned Parenthood Federation of America v. Center

for Medical Progress, 214 F.Supp.3d 808, 841 (N.D. Cal. 2016) (distinguishing cases where

plaintiff claims damages stemming from non-reputational and reputational torts, ultimately

finding that only the latter requires First Amendment heightened scrutiny); Vera v. O’Keefe, 791

F. Supp. 2d 959, 968 (S.D. Cal. 2011) (holding that persons engaging in news gathering are not

permitted to violate criminal laws in the process); Shulman v. Group W Prod., 955 P.2d 469, 495

(Cal. 1998) (finding privacy torts to be generally applicable and not protected by a First

Amendment defense, noting “the press in its newsgathering activities enjoys no immunity or

exemption from generally applicable laws.” ).

       Defendants chiefly rely on two cases to support their argument that Project Veritas

should be given a special privilege to break the law. (Def. Mem. at 26-27) (relying on Desnick v.




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Am. Broadcasting Co., 44 F.3d 1345 (7th Cir. 1995) and Russell v. Am. Broadcasting Co., No.

94 C 5768, 1995 WL 330920, at *4 (N.D. Ill. May 31, 1995)). That reliance is misplaced.

       In both cases, the defendant was found to be protected by the First Amendment because

the plaintiff failed to satisfy the applicable common law tort. For example, in Desnick, the

plaintiff did not satisfy the elements for trespass and fraud. 44 F.3d at 1355. In Russell, the court

rejected the wiretap claim because the plaintiff did not claim that the defendant intended to

commit a common law tort when the recording was made. 1995 WL 330920, at *4. Moreover,

since Desnick and Russell were decided more than twenty years ago, courts across the country

have consistently held that journalists are not free to use the Constitution as a shield from law-

breaking.

       In conclusion, Defendants cannot use the First Amendment to justify breaking the law

because they have no special immunity from the laws that apply to everyone else.

            b. Defendants’ Primary Motivation, or a Determinative Factor in their
               Motivation, Was to Breach a Fiduciary Duty Owed To Plaintiffs

       This Court applies a two-factor approach in determining whether a tortious purpose

negates the one-party consent exception. The first question is “whether [Defendant] had a

fiduciary duty to Plaintiff.” CAIR IV, F.Supp.3d at 257. The second question is “whether the

breach of this fiduciary duty was either the primary motivation for, or at least a determinative

factor motivating” the interception of the communications.” Id.

       Plaintiffs allege sufficient facts to establish the existence of a fiduciary relationship

between Maass and Democracy Partners. As discussed above, supra, Plaintiffs’ Complaint

alleges several facts suggesting that a heightened fiduciary relationship of trust and confidence

existed between Maass and Democracy Partners. Again, the existence of a fiduciary relationship

is a question of fact not amenable for resolution at this stage in the proceedings. See CAIR II, 793

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F. Supp. 2d at 341(affirming that “a claim for breach of fiduciary duty is generally not amenable

to dismissal for failure to state a claim when the claimed ground for dismissal is absence of a

fiduciary relationship.”); see also Warren v. District of Columbia, 353 F.3d 36, 37 (D.C. Cir.

2004) (“A court should not dismiss for failure to state a claim unless the defendant can show

beyond doubt that the plaintiff can prove no set of facts in support of his claim that would entitle

him to relief”) (emphasis added).

       Plaintiffs allege sufficient facts to establish that Defendants’ primary motivation or a

determinative factor in Defendant’s motivation, was to breach the fiduciary duty owed to

Plaintiffs. Maass’ motivation for surreptitiously recording oral communications was to breach

her fiduciary duties by disseminating the videos to individuals outside of Democracy Partners,

who then published the heavily-edited recordings to YouTube. (Compl. ¶¶ 57, 79, 81.) Indeed,

O’Keefe admitted that Maass and Roth were employees of PVAF and boasted in the fourth video

that “Charles Roth’s niece, our journalist [Maass], got offered an internship at Creamer’s firm

Democracy Partners.” (Compl., ¶ 59.) Furthermore, Defendants concede that the “purpose at the

time of the recordings were made was to publish constitutionally-protected speech . . . .” (Def.

Mem. at 25.)

       The present case is both factually and procedurally similar to CAIR IV. In CAIR IV,

Defendants placed an undercover agent, Chris Gaubatz, posing as an intern under a fictitious

identity, in the Washington, D.C. offices of the Council on American-Islamic Relations Action

Network (“CAIR”), a national Muslim advocacy group, for the purposes of producing a

documentary film to expose CAIR’s alleged link to the Muslim Brotherhood. 31 F. Supp. 3d at

243-45. During Gaubatz’s internship he surreptitiously recorded oral conversations and provided

the recordings to the other implicated defendants. This Court reasoned that if “Gaubatz



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understood himself to be bound by a fiduciary duty [], then it appear[end] obvious that the

breach of this fiduciary duty was the primary motivation, or at least a motivating factor, in his

interception of the communication at issue” because it was undisputed that “Gaubatz’s purpose

when making the recordings was to provide them to individuals outside of CAIR.” Id. at 259.

This Court ultimately denied the motion to dismiss the wiretap claims, finding there to be a

factual dispute as to whether Gaubatz understood himself to be bound by a fiduciary duty, an

issue appropriately resolved by a jury.

        Here, it is undisputed that Maass’ purpose for intercepting Plaintiffs’ confidential

conversations was to provide the recordings to third parties in order to “publish constitutionally-

protected free speech.” (Def. Mem. at 25.) Whether Maass understood herself to be bound by a

fiduciary duty, is a factual dispute appropriate for a jury determination. Plaintiffs have alleged

sufficient facts, see supra, Section B.1, indicating that Maass was on notice of a duty of non-

disclosure. The Court should therefore deny the motion to dismiss the wiretap claims because

Plaintiffs have adequately plead the tortious motivating factor of breach of fiduciary duty.

                   c. Defendants’ Primary Motivation, Or A Determinative Factor In Their
                      Motivation, Was Fraudulent Misrepresentation

        Defendants broke the law because their motivation was to create a cover to gain trust and

access to materials and discussions that would otherwise be out of reach.

        As discussed above, supra, Section C.2, Plaintiffs allege sufficient facts to establish a

claim for fraudulent misrepresentation. At best, Defendants’ contention that their purpose was

not fraudulent misrepresentation is a question of fact not appropriately resolved at this stage in

litigation.

        Defendants circuitously seem to argue that they did not intend to make a fraudulent

misrepresentation because “after all, Maas[s] already had a cover story in place when the

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recordings were made.” (Def. Mem. at 26.) However, it cannot be disputed that when Maass and

Roth fraudulently misrepresented themselves by creating false identities, at the direction of

Project Veritas, Project Veritas Action Fund, and O’Keefe, they intended to garner trust and

access to Democracy Partners’ confidential and proprietary information. The entire scheme of

intercepting the conversations was dependent on Maass and Roth maintaining their cover

through fraudulent misrepresentation. (Compl. ¶ 42)(“Had Creamer known that Maass was an

employee of PV and PVAF; that Roth/Sandini was an agent of Project Veritas and not an

interested donor . . . he never would have hired her as an intern.”).

       In a single cursory sentence, Defendants claim their motivation was not to fraudulently

misrepresent Plaintiffs, however they provide no legal or factual basis for this assertion. (Defs.’

Mot. 26.) Plaintiffs have sufficiently alleged facts to support an inference that Defendants’

primary motivation, or at least a determinative factor in their motivation, in intercepting, using,

and disclosing the communications was to fraudulently misrepresent themselves to gain trust and

access to Plaintiffs’ confidential information.

                   d. Defendant’s Primary Motivation, Or A Determinative Factor in their
                      Motivation, was Trespass.

       As argued at length above, Maass gained access to Plaintiffs’ private offices through

Defendants’ misrepresentation, thereby committing trespass. Mass committed further trespass by

non-consensually recording and sharing confidential materials and conversations for her

secondary employer. Maass’ commission of trespass was the primary motivation, or at least a

determinative factor in her motivation, to surreptitiously record, use, and disclose oral

communications in violation of federal and D.C. wiretap laws.




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       5. All Defendants Can Be Held Liable for Maass’ Action Under the Claim Of Civil
          Conspiracy

       As the Defendants correctly point out (Def. Mem. at 37), “[i]n the District of

Columbia, civil conspiracy “‘is not an independent tort but only a means for establishing

vicarious liability for an underlying tort.’” Rawlings v. Dist. of Columbia, 820 F.Supp.2d 92, 103

(D.D.C.2011) (quoting Nader v. Democratic Nat'l Comm., 567 F.3d 692, 697 (D.C.Cir.2009)).

In the Complaint, Count Six, Plaintiffs allege that Defendants combined and conspired for an

unlawful purpose or for a lawful purpose by unlawful means, including to commit, trespass,

fraudulent misrepresentation, unlawful wiretap and to breach fiduciary duties.” (Compl. ¶114.)

In other words, Plaintiffs are alleging civil conspiracy as an additional means of holding the

Defendants (and Defendant Sandini) liable for the underlying torts directly committed by Maass.

       Defendants contend that “where protected First Amendment speech is in controversy,

speakers are immune from civil conspiracy claims.” (Def. Mem. at 37). Here, as noted, the

conduct alleged to have damaged Plaintiffs is not publication and is not protected by the First

Amendment.

       In any event, there is simply no such rule that “speakers are immune from civil

conspiracy claims” in any case potentially involving the First Amendment. To the contrary,

when the elements of civil conspiracy are properly pleaded, and the underlying tort is properly

pleaded, a claim for civil conspiracy will lie even when the underlying tort is defamation itself.

See, e.g., Giordano v. Claudio, 714 F.Supp.2d 508, 534 (E.D. Pa. 2010)(denying motion to

dismiss claim for civil conspiracy to defame); Pasqualini v. Mortgageit d/b/a IPI Skyscraper

Mortgage, 498 F.Supp.2d 659, 671 (S.D.N.Y. 2007)(same).

       Neither of the cases cited by Defendants stands for the proposition that no action for civil

conspiracy will lie for conduct implicating the First Amendment. NAACP v. Claiborne

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Hardward Co., 458 U.S. 886, 920 (1982) held that members of an association cannot

automatically be held liable for acts of violence committed by other members. Brownsville

Golden Age Nursing Home, Inc. v. Wells, 839 F.2d 155 (3d Cir. 1988) held that liability cannot

be imposed for attempts to influence government action. Neither case is remotely relevant here.

Plaintiffs have properly pleaded the basis for holding Defendants liable for Maass’ actions under

the theory of civil conspiracy.

    IV.     The District of Columbia Anti-SLAPP Act Cannot Be Applied To An Action In
                                           Federal Court

       The District of Columbia Anti-SLAPP Act, D.C. Code §§16-5501 et seq., allows a

moving party to make a “special motion to dismiss” by showing that a claim arises from “an act

in furtherance of the right of advocacy on issues of public interest;” and the case is then

dismissed unless the “responding party demonstrates that the claim is likely to succeed on the

merits.” D.C. Code §16-5502. Because this is a procedural rule that directly conflicts with

Rules 12 and 56 of the Federal Rules of Civil Procedure, a federal court may not apply it.

“Federal Rules of Civil Procedure 12 and 56 establish the standards for granting pre-trail

judgment to defendants in cases in federal court. A federal court must apply those Federal Rules

instead of the D.C. Anti-SLAPP Act’s special motion to dismiss provision.” Abbas v. Foreign

Policy Group, LLC, 783 F.3d 1328, 1333 (D.C. Cir. 2015).

       Defendants acknowledge the holding in Abbas, but suggest that it “is not controlling

where the court’s jurisdiction is based on the presence of a valid federal question for this court to

decide.” (Def. Mem. at 38 n. 10). That makes no sense. As a general proposition, a Federal Rule

of Civil Procedure that regulates procedure “is valid in all jurisdictions, with respect to all

claims, regardless of its incidental effect upon state-created rights.” Shady Grove Orthopedic

Assoc., P.A. v. Allstate Ins. Co., 559 U.S. 393, 410 (2010) (emphasis added). “Procedural state

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laws are not used in federal court if to do so would result in a ‘direct collision’ with a Federal

Rule of Civil Procedure.” Metabolife Inter., Inc. v. Wornick, 264 F.3d 832, 845 (9th Cir.

2001)(citing Walker v. Armco Steel Corp., 446 U.S. 740, 749-50 (1980)).

           This Court has subject matter jurisdiction over this case based on a federal question—

the Federal Wiretapping Act, 18 U.S.C. §§2511 et seq., and pendent jurisdiction over the state

law claims (breach of fiduciary duty, trespass, D.C. Wiretapping law and fraudulent

misrepresentation). (Compl. ¶9.) By definition, an anti-SLAPP statute cannot apply to federal

claims because of the conflict with federal substantive rights. E.g., Hilton v. Hallmark Cards,

599 F.3d 894, 901 (9th Cir. 2010) (“a federal court can only entertain anti-SLAPP special

motions to strike in connection with state law claims,” holding California anti-SLAPP Act

cannot be applied to federal claims in U.S. District Court). The situation with respect to state law

claims in federal court is the same as in a diversity case: if the state law rule is found to

contravene a Federal Rule of Civil Procedure, it cannot be applied to state law claims, regardless

of the basis for subject matter jurisdiction. In Abbas, the D.C. Circuit found that:

               In short, unlike the D.C. Anti-SLAPP Act, the Federal Rules do not require a
               plaintiff to show a likelihood of success on the merits in order to void pre-trail
               dismissal. Under Shady Grove, therefore, we may not apply the D.C. Anti-
               SLAPP Act’s special motion to dismiss provision.

               783 F.3d at 1334.

The holding of Abbas precludes Defendants from making a special motion to strike under the

D.C. Anti-SLAPP Act in this Court. That motion should be denied.

                                           V.      Conclusion

       In this case, a fake “intern,” acting on the instructions and as the agent of Defendants,

engaged in fraud and lies to get access to Plaintiffs’ premises and confidential information, in

breach of her fiduciary duty, and in pursuit of her illegal and tortious conduct, illegally recorded

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private conversations in Plaintiffs’ offices. That conduct in itself caused Plaintiffs serious injury.

Defendants are not heroic “undercover reporters.” They directed and conspired to commit

tortious and criminal conduct. Their phony videos, while false and defamatory to be sure, were

not the cause of Plaintiff’s injury. Plaintiffs have sufficiently pleaded the elements of the causes

of action they assert and those claims are in no way barred by the First Amendment. Defendants’

motions to dismiss should be denied.


Dated: September 15, 2017                      Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

        I hereby certify that on September 15, 2017, a copy of the foregoing Plaintiff’s
Memorandum of Points and Authorities in Opposition to Defendants’ Motion to Dismiss was filed
and served via the CM/ECF system, which will serve a Notice of Electronic filing upon all counsel
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